Case No. 1:23-cv-02016-SBP Document 3 filed 08/10/23 USDC Colorado pg 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 23-cv-02016-SBP
(The above civil action number must appear on all future papers
 sent to the court in this action. Failure to include this number
 may result in a delay in the consideration of your claims.)

WILLIAM WRIGHT,

       Plaintiff,

v.

DENVER SHERIFF DEPT.,

       Defendant.


               ORDER DIRECTING PLAINTIFF TO CURE DEFICIENCIES


       William Wright, an inmate in the custody of the Denver Sheriff’s Department,

initiated this action on August 7, 2023, by submitting pro se to the Court a document

titled “Notice of Appeal” stating that he wants to sue the Denver Sheriff’s Department

(ECF No. 1)1. Although Mr. Wright’s intentions are unclear, the Court has opened a civil

action as part of its review under D.C.COLO.LCivR 8.1(b). The filing is deficient as

described herein. Therefore, Mr. Wright is directed to cure the following if he wishes to

pursue any claims in this action. Any papers that Mr. Wright files in response to this

Order must be labeled with the civil action number identified on this Order.

28 U.S.C. § 1915 Motion and Affidavit:
(1) X        is not submitted
(2)          is missing affidavit

1
 "(ECF No. 1)" identifies the docket number assigned to a specific paper by the court's case
management and electronic case filing system (CM/ECF). This manner of identifying a document on the
electronic docket is used throughout this order.

                                                 1
Case No. 1:23-cv-02016-SBP Document 3 filed 08/10/23 USDC Colorado pg 2 of 3




(3)   X       is missing certified copy of prisoner’s trust fund statement for the 6-month
              period immediately preceding this filing
(4)           is missing certificate showing current balance in prison account
(5)           is missing required financial information
(6)           is missing authorization to calculate and disburse filing fee payments
(7)           is missing an original signature by the plaintiff
(8)           is not on proper form
(9)           names in caption do not match names in caption of complaint, petition or
              habeas application
(10) X        other: motion and supporting documents are necessary only if $402.00
              filing fee is not paid in advance

Complaint, Petition, or Application:
(11) X      is not submitted
(12)        is not on proper form
(13)        is missing an original signature by the Applicant
(14)        is missing page nos.
(15)        uses et al. instead of listing all parties in caption
(16)        names in caption do not match names in text
(17)        addresses must be provided for all defendants/respondents in “Section A.
            Parties” of complaint, petition or habeas application
(18) X      other: Mr. Wright must use the current Court-approved form Prisoner
            Complaint

       In light of the above-listed deficiencies, it is

       ORDERED that Mr. Wright cure the deficiencies designated above within thirty

(30) days from the date of this Order. Any papers that Mr. Wright files in response to

this Order must be labeled with the civil action number identified on this Order. It is

       FURTHER ORDERED that Mr. Wright shall obtain and utilize the current Court-

approved Prisoner Complaint and Prisoner’s Motion and Affidavit for Leave to Proceed

Pursuant to 28 U.S.C. § 1915 forms (with the assistance of his case manager or the

facility’s legal assistant), along with the applicable instructions, at

www.cod.uscourts.gov. It is

       FURTHER ORDERED that if Mr. Wright fails to cure the designated deficiencies

within thirty (30) days from the date of this Order, the action will be dismissed

                                                2
Case No. 1:23-cv-02016-SBP Document 3 filed 08/10/23 USDC Colorado pg 3 of 3




without further notice. The dismissal shall be without prejudice.

       DATED August 10, 2023.



                                                 BY THE COURT:




                                                 Susan Prose
                                                 United States Magistrate Judge




                                             3
